        Case 1:25-mj-00093-MJS          Document 1-1        Filed 05/27/25      Page 1 of 9




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

               v.                                       Case No. 25-mj-___ ( )

     ZACHARY BRANDNER,
                                                        UNDER SEAL
                    Defendant.


                           AFFIDAVIT IN SUPPORT OF A
                    CRIMINAL COMPLAINT AND ARREST WARRANT

I,                  , being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AFFIANT BACKGROUND

        1.     As a Detective with the Metropolitan Police Department in Washington, DC, I am

charged with enforcing all federal laws and those in Washington, DC. I am currently a detective

with the MPD / FBI Child Exploitation and Human Trafficking Task Force (CEHTTF). My tenure

with the MPD spans 15 years, and I have been conducting criminal investigations in this capacity

for more than 5 years. I am responsible for investigating possession of child pornography,

distribution of child pornography, receipt of child pornography, production of child pornography,

commercial sexual exploitation of minors, and human trafficking of minors or adults.

        2.      As a task force member, I am authorized to investigate violations of United States

laws and to execute search warrants issued under the authority of the United States. I have gained

experience in such investigations through formal training and on-the-job training with more

experienced detectives and agents. I have received training and experience in interviewing and

interrogation techniques, peer-to-peer file sharing investigations, arrest procedures, search warrant
       Case 1:25-mj-00093-MJS            Document 1-1       Filed 05/27/25      Page 2 of 9




applications, surveillance, and a variety of other investigative tools available to law enforcement

officers.

        3.       I have been personally involved in the investigation of this matter. I am familiar

with the information contained in this Affidavit based on my participation in the investigation, my

review of documents and other evidence, my conversations with other law enforcement officers,

and my training and experience. Because this Affidavit is being submitted for the limited purpose

of establishing probable cause to arrest the defendant, I have not included the details of every

aspect of the investigation. Where actions, conversations, and statements of others are related

herein, they are related in substance and in part, except where otherwise indicated.

                                             PROBABLE CAUSE

        4.       On April 1, 2025, a Federal Bureau of Investigation (FBI) Task Force Officer

(TFO) assigned to the Washington Field Office (WFO) was acting in an online undercover (UC)

capacity as part of the FBI Child Exploitation and Human Trafficking Task Force (CEHTTF),

operating out of a satellite office in Washington, D.C.

        5.       In that capacity, the UC was monitoring the dating application, Jack’d. The UC

maintains a profile on the dating application that indicates that the UC is interested in the sexual

exploitation of children using child exploitation key words prominently listed in the UC’s Jack’d

profile page. The UC maintains that they are a father to a purported nine-year-old son.

        6.       On April 1, 2025, the UC was contacted by the Jack’d user “fart fetish

       .” The user’s profile indicated that they were approximately a mile away from the UC,

that they are 6’5”, and that they lived in “SW.” The user had the following conversation with the

UC via Jack’d direct message:

             fart fetish      : Into kids?


                                                  2
       Case 1:25-mj-00093-MJS           Document 1-1        Filed 05/27/25    Page 3 of 9




            Undercover: I can be. They’re adorable (fart fetish         reacted to this message
            with a purple devil emoji).

            fart fetish       : Same dude. Little boy cock. So cute. Bet ur kids are cute         I
            have Tele if ur down to chat more!

            Undercover: Hell yah. What’s your tele?

            fart fetish      : zboi29

       7.       On April 1, 2025, at approximately 11:12 AM, the UC messaged zboi29 via

Telegram. The user had a display name of Z. Zboi29 advised the UC that he was interested in

“…infants up to 12” and asked the UC if he had kids. The UC advised that he has a son that is

nine and he is sexually active with him. Zboi29 asked the UC, “Done anything w him” and the

UC advised, “I have…..got anything pervy so I know you’re cool. Don’t care what it is.”

       8.       Zboi29 forwarded a video file that is five minutes and thirty-six seconds long that

showed an infant boy being undressed and then restrained on his back with a piece of cloth to a

small piece of furniture by an adult male. The adult male is observed from the waist down with

his penis exposed squatting over the boy and defecating on the child’s chest and then urinating in

the child’s mouth. The child’s restraints are removed and then restrained stomach down on the

piece of furniture with a cloth. The adult male slaps the child’s buttocks and inserts his fingers

into the child’s anus. The adult male then ejaculates onto the child’s buttocks. Zboi29 then

forwarded a second video that is fifty-seven seconds long and shows a prepubescent boy having

his mouth penetrated by the erect penis of an adult male.

       9.       Zboi29 reported after sending the second, “I’m sorry i don’t have much” and then

stated after sending the second video, “But I’m super child bro.” Zboi29 commented on the

infant’s video, “Hell yea. Rape it. U have some i could see? Or maybe ur son.” The UC

forwarded a photograph of his purported son and a photograph of his purported penis and asked

                                                 3
        Case 1:25-mj-00093-MJS               Document 1-1           Filed 05/27/25        Page 4 of 9




Zboi29 if he had any experience.1 Zboi29 reported “Yes some” and advised “Hottttt” regarding

the photos sent by the UC. The UC advised how he sexually abuses his purported son and Zboi29

asked, “Fuck yeah. Fr? And he enjoys it? How do u keep him quiet? Just curious.” The UC

advised Zboi29 how he has kept his purported son quiet regarding the abuse.

        10.      The UC found that Zboi29 had blocked the UC on Telegram and Jack’d shortly

after UC discussed how he keeps his purported son from disclosing abuse.

        11.      On April 1, 2025, an administrative subpoena was issued to Perry Street Software,

the parent company of Jack’d, by a member of the FBI. The FBI requested subscriber information

and internet protocol (IP) logs for the identified account.

        12.      On April 30, 2025, Perry Street Software responded to the administrative subpoena

and indicated that the account had been accessed on April 28, 2025, from an IP address of

70.21.16.223. 70.21.16.223 generally resolves to a Verizon Fios subscriber in Washington, D.C.

        13.      Perry Street Software also provided latitude and longitude for the account being

accessed at 38.880108284786, -77.011122575394 which when plotted resolves to an apartment

building at      H Street Southwest. The account user provided biographical information for the

account which included information indicating they lived in SW (indicating Southwest

Washington, D.C.), are “Hispanic / Latino,” and a date of birth of 11-30-                 .

        14.      Perry Street Software also provided images used by the user as profile pictures.

These photographs were analyzed by a member of the FBI CEHTTF using law enforcement

sensitive facial recognition tool. The members subsequently identified a possible match to the

profile pictures of Zachary Silas Brandner with a date of birth of 07-05-                and a current address

of    H Street Southwest #849, Washington, D.C. via a law enforcement only database.


1
 The photograph of the UC’s purported son did not depict a real child. The photograph of a purported penis did not
depict a real penis.
                                                        4
       Case 1:25-mj-00093-MJS           Document 1-1        Filed 05/27/25    Page 5 of 9




       15.     A member of the FBI CEHTTF requested that a member of the United States Postal

Service (USPS) check for deliveries to        H Street, #849, Southwest, Washington, D.C. The

member of the USPS reported that Brandner had received a package at                H Street #849,

Southwest, Washington, D.C. on September 3, 2024.

       16.     A photograph used by the Jack’d user is attached below along with a driver’s license

photograph of Zachary Brander.




       17.     On May 9, 2025, Magistrate Judge G. Michael Harvey signed a search warrant for

the contents of the Jack’d account associated with fart fetish      .

       18.     Your affiant reviewed the contents of the identified Jack’d account and located the

following messages sent:

       “I’m on my way to my brunch now. I really am sorry dawg. I don’t know wtf happened.

       But I’ll make it up to u. My building 64 H St Sw room 848. In telling u that so soon as im

       back next time ur free u can just show up.” – January 26, 2025


                                                 5
       Case 1:25-mj-00093-MJS          Document 1-1        Filed 05/27/25   Page 6 of 9




       What do i do for work? I was an IT account manager but i gave it up a week ago to be a

       congressional staffer” – January 23, 2025

       “Into watching young boys poop on eachother? I got Telegram if so. Yea but u chill with

       twisted ages like Yng? Got super sloppy vids…Anyone who don’t like little boys being

       pooped on is lying lol…Yep and some with dads pooping in the boys…I mean I’ll show i

       haha. Just gotta be cool with watching kids. I’m chill just wanted to make sure u were

       haha….Back when i was a student at Pitt i think we talked but i was just discovering my

       shit fetish then.” – January 26, 2025 at 4:33 UTC

       19.      The member of the FBI also identified the following three Meta LLC accounts

linked to Brandner:

       https://www.instagram.com/zachbrandner/

       https://www.facebook.com/zach.brandner.96/

       https://www.facebook.com/zach.brandner

       20.      On May 5, 2025, an administrative subpoena was issued to Meta LLC. by a

member of the FBI. The FBI requested subscriber information and internet protocol (IP) logs for

the identified Meta accounts.

       21.      On May 15, 2025, Meta LLC. Provided the requested information regarding the

three identified Meta LLC. accounts. Meta LLC. Provided the following information for the

accounts:


             https://www.instagram.com/zachbrandner/

             Zach Brandner (First / Last Name)
             ZSBrand@pointpark.edu
             412-863-8215 - Verified on 4-18-2023

                                               6
        Case 1:25-mj-00093-MJS           Document 1-1      Filed 05/27/25     Page 7 of 9




              https://www.facebook.com/zach.brandner.96/

              Zach Brandner (First / Last Name)
              412-863-8215 (Verified)

              https://www.facebook.com/zach.brandner

              Zach Brandner (First / Last Name)
              brandnerz48@gmail.com (Verified Primary)
              Zac.brandner@facebook.com (Verified)
              Zacharybrandner@yahoo.com (Unverified)
              10-06-2011 (Registration Date
              412-863-8215 (Verified)
              724-433-1335 (Verified)
              Visa 443040-XX-XXXX-7032

        22.      On May 21, 2025, an administrative subpoena was issued to Verizon Wireless by

a member of the FBI. The FBI requested subscriber information for the telephone number of

412-863-8215, which was associated with Brandner’s Meta accounts.

        23.      On May 22, 2025, Verizon Wireless provided the requested subscriber

information and indicated that the account is registered to Zach Brandner with a billing address

of 9335 E Parkhill Drive, Bethesda, Maryland. The account has been active since February 16,

2021.

        24.      Your affiant conducted a records search of commercial, open source, and law

enforcement databases for information related to Brandner. Your affiant found that the email

address of Zach.Brandner@Dexian.com had been associated with him previously and a public

LinkedIn page indicated Brandner worked for Dexian. Your affiant also found that the public

LinkedIn page indicated Brandner had attended Point Park University and previously attended

University of Pittsburgh. This is consistent with the above-referenced messages from Jack’d

which discussed being a student at “Pitt.”

        25.      A member of the FBI CEHTTF conducted a records search of a NCMEC database

and found that an employee of Grindr had reported an allegation regarding Brandner on February

                                                  7
       Case 1:25-mj-00093-MJS            Document 1-1         Filed 05/27/25    Page 8 of 9




13, 2024. The employee advised that the Grindr user, Fart on Me (User ID #587899706), had

been reported by other users for asking for “sensitive pictures/videos of minors.” Grindr advised

that the user had registered the account with an email address of Zach.Brandner@dexian.com.

Based on Brandner’s prior employment at Dexian, this appears to be the same individual.

        26.     On May 20, 2025, the Jack’d user fart fetish          messaged the UC via Jack’d

direct message and asked “Real dad.” On May 22, 2025, the UC responded to fart fetish

who did not indicate remembering messaging the UC previously at this point, but did indicate in

the chat that he had a sexual interest in children. fart fetish      advised the UC that he, “Wish

it was normalized man,” “I think most men are into it,” “…Idk I’m just very turned on by Yng,”

“And the younger the better.” fart fetish          indicated an interest in gaining experience with

a child and provided the Telegram account of Zboi29 to communicate with the UC further.

        27.     On May 21, 2025, at 11:43 am, the UC messaged Zboi29 via Telegram direct

message. The UC advised Zboi29 that they had spoken in the past and asked why he had

blocked the UC. Zboi29 reported that he had “gotten scared in the past. But not anymore.”

        28.     The UC again advised Zboi29 that he is a father to a nine-year-old purported son

and Zboi29 advised, “Nice dude great age.” Zboi29 also reported, “I feel like 12 is the cut off

for me.” Zboi29 asked the UC how he sexually abuses the purported child and how he keeps the

purported child from disclosing. Zboi29 also indicated an interest in meeting the UC to build up

trust and then meet the UC’s purported son. Zboi29 advised the UC, “We could meet and perf

the first time. Perv” and indicated, “Can’t wait to see him.” The UC asked, “What do you want

to see” and Zboi29 reported, “Anything tbh. His little cock.”




                                                   8
       Case 1:25-mj-00093-MJS          Document 1-1       Filed 05/27/25     Page 9 of 9




                                        CONCLUSION

       17.     Based on the aforementioned facts, your affiant respectfully submits that there is

probable cause to believe that ZACHARY BRANDNER, committed the offense of Distribution

of Child Pornography in violation of Title 18, United States Code, 2252(a)(2).




                                                    Detective
                                                    Metropolitan Police Department


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on May 27, 2025.
                                                                2025.05.27
                                                                10:17:17 -04'00'
                                             _____________________________________
                                             HONORABLE MATTHEW J. SHARBAUGH
                                             UNITED STATES MAGISTRATE JUDGE




                                                9
